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FLN (Rev. 4/2004) Deficiency Order                                                      Page 1 of 1
3:00cr48LAC - UNITED STATES OF AMERICA vs. PHILLIP NESMITH


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

UNITED STATES OF AMERICA

        vs                                               Case No.3:00cr48LAC

PHILLIP NESMITH




                                                ORDER

Your document, MOTION FOR RECONSIDERATION TO REVERSE RULING ON
1278-1 ON MOTION TO COMPEL PRODUCTION OF DOCUMENT ITEM #1273 was
referred to the undersigned with the following deficiencies:

        The document does not have a Certificate of Service as required by Rule
        5(b) and (d) of the Federal Rules of Civil Procedure, showing proper
        service.

For these reasons, IT IS ORDERED that the document shall remain in the electronic
file, but no further pleadings will be accepted unless they comply with NORTHERN
DISTRICT OF FLORIDA local rules.

DONE and ORDERED this 1st day of August, 2005.



                                                  s /L.A. Collier
                                                 LACEY A. COLLIER
                                                 SENIOR UNITED STATES DISTRICT JUDGE
